        Case 2:19-cv-01170-MSG Document 23 Filed 06/18/19 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
STEWART SMITH,                                 :            CIVIL ACTION
                                               :
              Plaintiff,                       :
                                               :
                     v.                        :            No. 19-cv-1170
                                               :
EGV COMPANIES, INC.,                           :
                                               :
              Defendant.                       :
                                               :

                                          ORDER

      AND NOW, this 18th day of June, 2019, upon consideration of the joint status update

(ECF No. 22), is hereby ORDERED that:

         1. Plaintiff shall file his Amended Complaint on or before June 24, 2019;

         2. Defendant shall file its Motion to Dismiss on or before July 15, 2019 as I find that

            a pre-motion conference is unlikely to be helpful in resolving the Motion; and

         3. Plaintiff shall file a response to Defendant’s Motion to Dismiss on or before July

            29, 2019.



                                                     BY THE COURT:


                                                     /s/ Mitchell S. Goldberg


                                                     MITCHELL S. GOLDBERG, J.




                                              1
